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17                                UNITED STATES DISTRICT COURT

18                             NORTHERN DISTRICT OF CALIFORNIA

19                                       SAN FRANCISCO DIVISION
20

21   IN RE CATHODE RAY TUBE (CRT)                    No. 07-cv-5944-SC
     ANTITRUST LITIGATION                            MDL No. 1917
22
                                                     THOMSON SA’S ADMINISTRATIVE
23   This Document Relates to:                       MOTION TO FILE UNDER SEAL
24   Sharp Electronics Corp., et al. v.              (Civil Local Rule 79-5(d))
     Hitachi, Ltd., et al., No. 13-cv-01173.
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     THOMSON SA’S ADMINISTRATIVE MOTION TO                               No. 07-5944-SC; MDL No. 1917
     FILE UNDER SEAL
      Case 4:07-cv-05944-JST Document 2235 Filed 11/25/13 Page 2 of 3



 1          In accordance with Federal Rule of Civil Procedure 5.2(e) and Civil Local Rules 7-11 and
 2   79-5(d), specially appearing Defendant, Thomson SA, respectfully submits this Administrative
 3   Motion for a Sealing Order regarding Thomson SA’s concurrently filed Notice of Motion and
 4   Motion to Dismiss Sharp’s First Amended Complaint (“Motion”) and sections thereof which
 5   reference allegations in Sharp’s First Amended Complaint (“FAC”) that have been sealed because
 6   they allegedly have been derived from documents previously designated as “Confidential” or
 7   “Highly Confidential” by other parties in this action.
 8          Thomson SA’s concurrently filed Motion discusses and/or references allegations
 9   contained in paragraph 196 of Sharp’s FAC that were previously filed under seal because they
10   allegedly were derived from documents produced and designated as “Confidential” or “Highly
11   Confidential” by other parties in this action under the terms of the Stipulated Protective Order
12   entered in this case.   (See Declaration of Jeffrey S. Roberts in Support of Thomson SA’s
13   Administrative Motion to Seal at ¶ 3; see also Sharp’s Administrative Motion to Seal Portions of
14   FAC [Dkt. No. 2030]; see also, Stipulated Protective Order [Dkt. No. 306].) On November 12,
15   2013, the Court entered an Order Regarding Administrative Motion to Seal Portions of Plaintiffs’
16   First Amended Complaint (“Order Sealing Portions of Sharp’s FAC”) [Dkt. No. 2211] sealing
17   “portions of ¶¶ 196-199, ¶ 239, ¶ 240, and portions of ¶ 259.”
18          WHEREFORE, because Thomson SA’s concurrently filed Motion discusses and/or
19   references allegations contained in paragraph 196 of the FAC that have been ordered sealed by
20   the Court, consistent with Thomson SA’s obligations under the Court’s Order Sealing Portions of
21   Sharp’s FAC, Thomson SA respectfully requests that Court enter an Order sealing the portions of
22   its Motion that discuss and/or reference sealed allegations contained in paragraph 196 of Sharp’s
23   FAC.
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     THOMSON SA’S ADMINISTRATIVE MOTION TO        1                       No. 07-5944-SC; MDL No. 1917
     FILE UNDER SEAL
      Case 4:07-cv-05944-JST Document 2235 Filed 11/25/13 Page 3 of 3



 1   Dated: November 25, 2013                    Respectfully submitted,
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 3
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     FILE UNDER SEAL
